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PTO Form 1553 (Rev 09/2005)
OMB No. 0651-0054 (Exp 10/31/2017)


                                       Trademark/Service Mark Amendment to Allege Use
                                                 (15 U.S.C. Section 1051(c))


                                                     The table below presents the data as entered.

                                     Input Field                                                                  Entered
             SERIAL NUMBER                                              87035036
             LAW OFFICE ASSIGNED                                        LAW OFFICE 120
             EXTENSION OF USE                                           NO
             MARK SECTION
             MARK                                                       http://teas.uspto.gov/aou/pages/common/No-Image-File.jpg
             LITERAL ELEMENT                                            HIGH ROLLER
             STANDARD CHARACTERS                                        YES
             USPTO-GENERATED IMAGE                                      YES
                                                                        The mark consists of standard characters, without claim to any particular
             MARK STATEMENT
                                                                        font style, size or color.
             OWNER SECTION
             NAME                                                       INTERWORKS UNLIMITED INC.
             STREET                                                     2418 PECK RD.
             CITY                                                       CITY OF INDUSTRY
             STATE                                                      California
             ZIP/POSTAL CODE                                            90601
             COUNTRY                                                    United States
             GOODS AND/OR SERVICES SECTION
             INTERNATIONAL CLASS                                        012
                                                                        Motor scooters; electrically-powered motor scooters; electrically-powered,
                                                                        self-balancing motor scooters featuring two wheels on a common axis;
             CURRENT IDENTIFICATION
                                                                        gyroscopically balanced motor scooters; Motorized, electric-powered, self-
                                                                        propelled, self-balancing, wheeled personal mobility, transportation devices
             GOODS OR SERVICES                                          KEEP ALL LISTED
             FIRST USE ANYWHERE DATE                                    05/13/2015
             FIRST USE IN COMMERCE DATE                                 05/13/2015
                                                                        \\TICRS\EXPORT17\IMAGEOUT 17\870\350\87035036\xml3\
             SPECIMEN FILE NAME(S)
                                                                        AAU0002.JPG
                                                                        \\TICRS\EXPORT17\IMAGEOUT 17\870\350\87035036\xml3\
                                                                        AAU0003.JPG
                                                                        \\TICRS\EXPORT17\IMAGEOUT 17\870\350\87035036\xml3\
                                                                        AAU0004.JPG




                                                                                                                                                             14
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                                          Business website and shopping cart webpage depicting High Roller product
SPECIMEN DESCRIPTION
                                          for sale in commerce
REQUEST TO DIVIDE                         NO
PAYMENT SECTION
NUMBER OF CLASSES IN USE                  1
SUBTOTAL AMOUNT [ALLEGATION OF USE FEE]   100
TOTAL AMOUNT                              100
SIGNATURE SECTION
DECLARATION SIGNATURE                     /Elizabeth Yang/
SIGNATORY'S NAME                          Elizabeth Yang
SIGNATORY'S POSITION                      Attorney of record, California bar member
DATE SIGNED                               10/07/2016
SIGNATORY'S PHONE NUMBER                  9099965906
FILING INFORMATION
SUBMIT DATE                               Sat Oct 08 01:08:57 EDT 2016
                                          USPTO/AAU-XX.XXX.XXX.XXX-
                                          20161008010857675850-8703
                                          5036-5707521e440db13ee574
TEAS STAMP
                                          83a2a3622739a152f1e6db05b
                                          c887897da34e11e67c91-CC-6
                                          339-20161008010318985388
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OMB No. 0651-0054 (Exp 10/31/2017)




                                               Trademark/Service Mark Amendment to Allege Use
                                                          (15 U.S.C. Section 1051(c))
To the Commissioner for Trademarks:
MARK: HIGH ROLLER(Standard Characters, see http://teas.uspto.gov/aou/pages/common/No-Image-File.jpg)
SERIAL NUMBER: 87035036



The applicant, INTERWORKS UNLIMITED INC., having an address of
    2418 PECK RD.
    CITY OF INDUSTRY, California 90601
    United States
is submitting the following allegation of use information:

For International Class 012:
Current identification: Motor scooters; electrically-powered motor scooters; electrically-powered, self-balancing motor scooters featuring two
wheels on a common axis; gyroscopically balanced motor scooters; Motorized, electric-powered, self-propelled, self-balancing, wheeled personal
mobility, transportation devices

The mark is in use in commerce on or in connection with all of the goods/services, or to indicate membership in the collective organization listed
in the application or Notice of Allowance or as subsequently modified for this specific class.

The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in interest at least as early as 05/13/2015,
and first used in commerce at least as early as 05/13/2015, and is now in use in such commerce. The applicant is submitting one specimen for the
class showing the mark as used in commerce on or in connection with any item in the class, consisting of a(n) Business website and shopping cart
webpage depicting High Roller product for sale in commerce.
Specimen File1
Specimen File2
Specimen File3


The applicant is not filing a Request to Divide with this Allegation of Use form.


A fee payment in the amount of $100 will be submitted with the form, representing payment for the allegation of use for 1 class.


                                                                               Declaration

STATEMENTS: The signatory believes that: if the applicant is filing the amendment to allege use under 15 U.S.C. §1051(c) or a statement of
use under 15 U.S.C. §1051(d), the applicant is the owner of the mark sought to be registered; the mark is in use in commerce; for a trademark
or service mark application, the applicant is using the mark in commerce on or in connection with all the goods/services in the application or
notice of allowance, or as subsequently modified; for a collective trademark, collective service mark, collective membership mark
application, the applicant is exercising legitimate control over the use of the mark in commerce by members on or in connection with all the
goods/services/collective membership organization in the application or notice of allowance, or as subsequently modified; for a certification
mark application, the applicant is exercising legitimate control over the use of the mark in commerce by authorized users on or in connection
with the all goods/services in the application or notice of allowance, or as subsequently modified, and the applicant is not engaged in the
production or marketing of the goods/services to which the mark is applied, except to advertise or promote recognition of the certification
program or of the goods/services that meet the certification standards of the applicant; that to the best of the signatory's knowledge and belief, no
other persons, except, if applicable, authorized users, members, and/or concurrent users, have the right to use the mark in commerce, either in the
identical form or in such near resemblance as to be likely, when used on or in connection with the goods/services/collective membership
organization of such other persons, to cause confusion or mistake, or to deceive; and the specimen(s) shows the mark as used on or in connection
with the goods/services/collective membership organization in commerce.

DECLARATION: The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under
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18 U.S.C. §1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any
registration resulting therefrom, declares that all statements made of his/her own knowledge are true and that all statements made on information
and belief are believed to be true.


Signature: /Elizabeth Yang/ Date Signed: 10/07/2016
Signatory's Name: Elizabeth Yang
Signatory's Position: Attorney of record, California bar member
Signatory's Phone: 9099965906

RAM Sale Number: 87035036
RAM Accounting Date: 10/11/2016

Serial Number: 87035036
Internet Transmission Date: Sat Oct 08 01:08:57 EDT 2016
TEAS Stamp: USPTO/AAU-XX.XXX.XXX.XXX-201610080108576
75850-87035036-5707521e440db13ee57483a2a
3622739a152f1e6db05bc887897da34e11e67c91
-CC-6339-20161008010318985388
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